                                                                United States Bankruptcy Court
                                                                Western District of Washington
In re:                                                                                                                   Case No. 21-11903-CMA
UniEnergy Technologies LLC                                                                                               Chapter 7
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 0981-2                                                    User: admin                                                                 Page 1 of 2
Date Rcvd: Jul 08, 2022                                                 Form ID: ntcdefni                                                          Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.

#                  Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                   the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 10, 2022:
Recip ID                  Recipient Name and Address
db                     #+ UniEnergy Technologies LLC, 4333 Harbour Pointe Blvd. SW, Suite A, Mukilteo, WA 98275-5461
aty                     + Christopher H Bayley, Snell & Wilmer L.L.P., One Arizona Center, 400 E. Van Buren St., Ste. 1900, Phoenix, AZ 85004-2509

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 10, 2022                                             Signature:            /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 8, 2022 at the address(es) listed below:
Name                                Email Address
Amit D. Ranade
                                    on behalf of Creditor Forever Energy Inc. amit.ranade@hcmp.com
                                    bankruptcy@hcmp.com;krista.stokes@hcmp.com;erika.wilson@hcmp.com

Bradley R. Duncan
                                    on behalf of Creditor Forever Energy Inc. bradley.duncan@hcmp.com
                                    bkp@hcmp.com;bankruptcy@hcmp.com;tammie.gere@hcmp.com

Brian C. Free
                                    on behalf of Creditor Forever Energy Inc. brian.free@hcmp.com bankruptcy@hcmp.com;krista.stokes@hcmp.com

Daniel A Fiedler
                                    on behalf of Interested Party Courtesy NEF danielfiedler@dwt.com jeannecadley@dwt.com




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District/off: 0981-2                                       User: admin                                                            Page 2 of 2
Date Rcvd: Jul 08, 2022                                    Form ID: ntcdefni                                                     Total Noticed: 2
Derek Wright
                          on behalf of Petitioning Creditor Aggreko LLC dwright@mayerbrown.com

Douglas Spelfogel
                          on behalf of Petitioning Creditor Aggreko LLC dspelfogel@mayerbrown.com

Edmund J Wood
                          ewood1@aol.com ejw@trustesolutions.net

Hilary Bramwell Mohr
                          on behalf of US Trustee United States Trustee hilary.b.mohr@usdoj.gov
                          Martha.A.VanDraanen@USDOJ.GOV;Young-Mi.Petteys@USDOJ.GOV;brian.b.braun@usdoj.gov;cori.gustafson@usdoj.gov

Hugh R. McCullough
                          on behalf of Interested Party Vanadis Power B.V. hughmccullough@dwt.com sherriparsons@dwt.com;seadocket@dwt.com

Joseph A.G. Sakay
                          on behalf of Creditor Rosen Bel-Kirk Associates LLC sakay@ryanlaw.com docketing@ryanlaw.com

Joseph E Shickich, Jr
                          on behalf of Interested Party Venture Lending & Leasing VIII Inc. jshickich@foxrothschild.com, vmagda@foxrothschild.com

Joshua A Rataezyk
                          on behalf of Debtor UniEnergy Technologies LLC jrataezyk@swlaw.com
                          docket@swlaw.com;clittell@swlaw.com;tgere@swlaw.com;pshanahan@swlaw.com

Kathryn R. McKinley
                          on behalf of Interested Party Courtesy NEF kathryn.mckinley@painehamblen.com april.schwartzenberger@painehamblen.com

Molly J. Kjartanson
                          on behalf of Debtor UniEnergy Technologies LLC mkjartanson@swlaw.com docket@swlaw.com;pshanahan@swlaw.com

United States Trustee
                          USTPRegion18.SE.ECF@usdoj.gov


TOTAL: 15




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Form ntcdefni (02/2022)
                                   UNITED STATES BANKRUPTCY COURT
                                           Western District of Washington
                                            700 Stewart St, Room 6301
                                                Seattle, WA 98101


In Re:       UniEnergy Technologies LLC                                Case No.: 21−11903−CMA
             Debtor(s).                                                Chapter: 7


                                        NOTICE OF DEFICIENT FILING

                                       FOR NON−INDIVIDUAL DEBTORS

                             Missing .txt file with list of creditors uploaded to the case



NOTICE IS HEREBY GIVEN TO THE DEBTOR(S) that the above referenced case, filed on October 14, 2021 ,
contains one or more filing deficiencies which must be corrected. Failure to cure the deficiencies on or before the
deadline(s) stated below may result in the dismissal of this case without further notice.

Additional information, rules and forms may be obtained from the court's website at www.wawb.uscourts.gov.

REQUIREMENTS UNDER THIS SECTION ARE DUE BY:                             July 15, 2022

Creditor list − PDF docketed to the case and .txt file uploaded




REQUIREMENTS UNDER THIS SECTION ARE DUE BY:                             July 18, 2022

All requirements under this section have been met.




PAYMENT OF FEES:

Visit the court's website at www.wawb.uscourts.gov to pay filing fees online or mail a cashier's check or money
order, made payable to the U.S. Bankruptcy Court, to the address provided above. Personal checks and bill pay
checks tendered for payment of filing fees will not be accepted from Debtors.



DATED: July 8, 2022
                                                            Mark L. Hatcher
                                                            Clerk of the Bankruptcy Court




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